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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:16-cv-02981-MSK-KMT
  TECH INSTRUMENTATION, INC., a Colorado corporation, individually and on behalf of all
  others similarly situated,
                                  Plaintiff
  v.

  EURTON ELECTRIC COMPANY, INC., a California corporation
                                  Defendant

                        DECLARATION OF STEPHEN A. WATKINS IN SUPPORT
                       OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT


                 I, Stephen A. Watkins, have personal knowledge of the following facts and if called as a
  witness would testify that:
                 1.     I am a partner at Carlson & Messer LLP, counsel for Defendant Eurton Electric
  Company, Inc. (“Eurton”)
                 2.     Plaintiff subpoenaed third party Westfax in this action. A true and correct copy of
  Westfax’s response to Plaintiff’s subpoena is attached hereto as Exhibit 15.
                 3.     Attached hereto as Exhibit 16 is a print-out of a spreadsheet summarizing
  documents Eurton produced in discovery.
                 4.     Column 1, “Estab. Bus Relations” of Exhibit 2, is imported from document
  EE2362.
                 5.     Column 1 reflects Eurton’s review of its documents that there is a sales order,
  invoice and/or statements, reflecting a business relationship with the company.
                 6.     Column 2, “Contact/Contacts” is the name of the person who is reflected in
  Eurton’s record as a company contact.




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                 7.    Column 3 sets forth the name of the company.
                 8.    The information in Columns 1-3 was imported from document EE2362.
                 9.    Column 4 are the fax numbers produced as EE001-33 that are associated with the
  companies set forth in Column 3. This was cross-referenced with document EE2362.
                 10.   EE001-33 was used to create the initial class list (“Initial List”).
                 11.   Column 5 is a list of credit applications found in EE1411-1501 that correspond to
  the companies in Column 3.
                 12.   Column 6 reflects the Data Quote Sheets found in EE2365-3060 that correspond
  to the companies in Column 3.
                 13.   Column 7 reflects the Customer Update Forms found in EE2023-2361 ("List
  recipient") that correspond to the companies in Column 3.
                 14.   Column 8 reflects the Customer Update Forms found in EE03061-3946
  "Customer Masters…" that correspond to the companies in Column 3.
                 15.   Column 9 indicates whether a company listed in Column 3 has a minimum of
  either a credit application, Data Quote Sheet, for Customer Update Form.
                 16.   Column 9 totaled 340 instances of consent for the Initial List. Given 1,498
  numbers in the Initial list, that is 24%.
                 17.   If one eliminates the 252 numbers Eurton asserts are “bad” numbers, the evidence
  of consent rises to 27% (340/1246).
                 18.   Column 10 reflects the Prior Permission forms found in EE001290-1410 that
  correspond to the companies in Column 3.
                 19.   Column 11 indicates whether a company listed in Column 3 has a minimum of
  either a credit application, Data Quote Sheet, Customer Update Form, or Prior Permission Form.
  There were 409 such instances, excluding duplicates.
                 20.   Columns 12-13, “Verified Info. / Perm. To Fax Doc.” is based on Eurton’s review
  of documents set forth in EE39-1285, as set forth in document EE2362. According to Eurton,

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  these persons orally confirmed prior permission to fax and then Eurton sent these persons a
  confirming fax.
                 21.    The total of Column 13 and Column 9 (excluding duplicates) is 1,088.
                 22.    If compared to the 1,498 numbers in the Initial List, that is 73%. If one eliminates
  the 252 numbers Eurton asserts are “bad” numbers, the evidence of consent rises to 97%
  (1088/1246).
                 23.    Neither my firm, nor prior counsel for Eurton were involved in directed or
  advising Eurton to seek the documents set forth in EE39-1285 relating to orally confirming prior
  permission to fax and sending a confirming fax. Nor were my firm or prior counsel were
  involved in directed or advising Eurton to seek the documents set forth in EE1290-1410.
                 24.    A true and correct copy of selections from the September 12, 2017 deposition of
  Eurton’s 30(b)(6) representative, John Buchanan are attached hereto as Exhibit 17.
                 25.    Notice was sent to the second class list on or about June 12, 2020.
                 26.    Eurton produced the documents relating to its defenses in supplemental
  disclosures on February 27, 2020, June 10, 2020, July 8, 2020 and July 30, 2020. Those
  Supplemental Disclosures are attached hereto as Exhibit 18. The documents produced are a
  voluminous but they can be produced in its entirety if the Court requests.
                 27.    My count of 505 of the credit applications and updates relating to the
  Supplemental List of 2,378 numbers is set forth at Exhibit 19.
                 I declare under penalty of perjury that the foregoing is true and correct and to the best of
  my knowledge.

                 Executed on November 1, 2021 at Los Angeles, CA

                                                                         /s/ Stephen A. Watkins
                                                                       Stephen A. Watkins




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